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                          Angela Klutts, M.ED., BCBA
                               December 17, 2019                            6

 1                           PROCEEDINGS

 2                  THE VIDEOGRAPHER:      We are now on the

 3 record at 9:01 a.m.     This is the videotaped deposition

 4 of Angela Klutts.

 5                  Will the court reporter please swear in

 6 the witness.

 7                  [Witness sworn.]

 8                  ANGELA K. KLUTTS, M.ED., BCBA

 9 having first been duly affirmed by me to tell the truth,

10 was examined and testified as follows:

11                           EXAMINATION

12      Q    (BY MR. WHITE)     Good morning.

13      A    Hi.

14      Q    Can you please state your full name for the

15 record.

16      A    Yes.    It's Angela K. Klutts.

17      Q    And, Ms. Klutts, my name is Jeremy White.         We

18 met briefly before the deposition.

19      A    Yes.

20      Q    And I am counsel for Walt Disney Parks and

21 Resorts in this matter.

22      A    Okay.

23      Q    Do you know anything about this lawsuit, other

24 than what I briefly mentioned to you before?

25      A    No, I do not.


                              U.S. LEGAL SUPPORT
                                (877) 479-2484
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                                                       Evidence Packet P.0588
